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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                      §
                                               §
       Plaintiff-Respondent,                   §
                                               §
V.                                             §   CRIMINAL ACTION NO. H-95-142-37
                                               §   CIVIL ACTION NO. H-06-66
ELI RAMIREZ,                                   §
                                               §
       Defendant-Movant                        §


               MEMORANDUM AND RECOMMENDATION GRANTING
               RESPONDENT’S MOTION TO DISMISS, AND DENYING
                MOVANT’S § 2255 MOTION TO VACATE, SET ASIDE
                          OR CORRECT SENTENCE

       Before the Magistrate Judge in this federal habeas corpus proceeding pursuant to 28 U.S.C.

§ 2255 is Movant Eli Ramirez’s § 2255 Motion to Vacate, Set Aside or Correct Sentence (Document

No. 5586),1 and Memorandum in Support of § 2255 Motion to Vacate, Set Aside or Correct Sentence

(Document No. 5587), and the United States’ Answer and Motion to Dismiss (Document No. 5625).

After reviewing Movant’s § 2255 Motion and Memorandum in Support, the Government’s Answer

and Motion to Dismiss, the record of the proceedings before the District Court in the underlying

criminal case, and the applicable case law, the Magistrate Judge RECOMMENDS, for the reasons

set forth below, that the Government’s Motion to Dismiss (Document No. 5625) be GRANTED, that

Movant’s Motion to Vacate, Set Aside, or Correct Sentence (Document No. 5586) be DENIED, and

that this § 2255 proceeding be DISMISSED as time-barred.




       1
        Eli Ramirez’s Motion to Vacate, Set Aside or Correct Sentence can be found at Document
No. 1 in Civil Action H-00-66 and at Document No. 5586 in Criminal Action No. H- 95-142.
References hereafter will be to the Criminal Document numbers unless otherwise indicated.
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I.     Procedural History

       Eli Ramirez (“Ramirez”), who is currently in the custody of the United States Bureau of

Prisons, is seeking federal habeas corpus relief under 28 U.S.C. § 2255. This is Ramirez’s first

attempt at § 2255 relief.

       On October 10, 1996, Ramirez and seventy-eight co-defendants were charged in a 196 count

sixth superseding Indictment, which arose out of a drug-trafficking organization headquartered in

Starr County, Texas. (Document No. 19). The superceding indictment charged various defendants

with narcotics distribution, money laundering, conspiracy to evade currency reporting requirements,

failure to file tax forms, aiding and abetting the use of a communication facility, aiding and abetting

travel in foreign and interstate commerce, conspiracy to travel in aid of a racketeering enterprise,

conspiracy to obstruct justice, obstruction of justice, and continuing criminal enterprise. On May

14, 1999, Ramirez pleaded guilty to counts 129 and 130, pursuant to a written Fed. R. Crim. P.

11(e)(1)(B) plea agreement to:

       Count 130-possession with the intent to distribute and distribution of 100 kilograms
       or more of marijuana and Count 129-charging a violation of Title 18 U.S.C.
       1956(a)(1)(A)(i). (Document No. 3278).

In addition, Ramirez waived his right to appeal his sentence or the manner in which was calculated.

(Document No. 3278, ¶ 7 & 8). (Document No. 3277, Transcript of Rearraignment Hearing,

Document No. 3692).

       Prior to sentencing, a Pre-sentence Investigation Report (“PSR”) was prepared (Document

No. 3698 & Addendums to PSR, Document Nos. 3777, 3792), to which Ramirez filed written

objections. (Document Nos. 3759, 4639). Pursuant to the PSR, Ramirez’s sentence was calculated

as follows: (1) In calculating Ramirez’s base offense level, because Ramirez was held accountable

for 3,195 kilograms of marijuana, pursuant to U.S.S.G. § 2D1.1(a)(3)(c)(3), Ramirez had a base
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offense of 34. (2) Because numerous firearms were found at the Damon stash house, which was

used by Ramirez to store marijuana, pursuant to U.S.S.G. § 2D1.1(b)(1), his base offense level was

increased by two levels. (3) Because Ramirez occupied a leadership role in the offense, pursuant to

U.S.S.G. § 3B1.1(c), his base offense level was increased by two levels. (4) Because Ramirez

attempted to obstruct justice by submitting a fictitious document to the United States Attorney’s

Office, pursuant to U.S.S.G. § 3C1.1, his base offense level was increased by two levels. (5). With

an offense level of 40, and with a criminal history of category II, Ramirez had a guideline sentencing

range of 324 months to 405 months. (Document No. 3698). Following the preparation of the PSR,

Ramirez moved to withdraw his guilty plea. (Document Nos. 3760, 3763).

       On April 26, 2000, Ramirez was sentenced to 240 months’ imprisonment on count 129 and

324 months’ imprisonment on count 130, the terms of imprisonment to run concurrent. Also, the

court ordered that Ramirez’s federal sentence run consecutive to his unexpired imprisonment term

in a Texas state case. In addition, the court imposed a five year term of supervised release on count

130, and a three year term of supervised release on counts 129, with the terms of supervised release

to be served concurrently. The Court imposed a special assessment of $100.00, and a fine of

$25,000.00. (Document No. 3803, Transcript of Sentencing Hearing, Document No. 3905, p. 63-

68). Judgment was entered on May 5, 2000. (Document No. 3811).

       Thereafter, Ramirez appealed his conviction and sentence to the Fifth Circuit Court of

Appeals. On December 28, 2000, Ramirez moved to dismiss his appeal. The Fifth Circuit granted

Ramirez’s Motion and his appeal was dismissed on January 4, 2001. (Document No. 4097).

Ramirez did not file a petition for writ of certiorari with the United States Supreme Court. The 90

day period for filing a petition for writ of certiorari with the Supreme Court expired on April 5, 2001.

SUP.CT.R.13 (“The time to file a petition for writ of certiorari runs from the date of entry of the
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judgment or order sought to be reviewed.”) As such, Ramirez’s judgment and conviction became

final on April 5, 2001, the ninetieth day on which Ramirez could have timely filed for review by the

Supreme Court.

       On January 6, 2006, Ramirez filed this § 2255 motion (Document No. 5586), and

Memorandum in Support (Document No. 5587), asserting that his sentence was imposed in violation

of in violation of United States v. Booker, 543 U.S. 220, 125 S.Ct. 738 (2005). According to

Ramirez, the Court used unconstitutional sentencing guidelines to enhance his sentence. The

Government has answered and has moved to dismiss the instant action as time-barred. (Document

No. 5625). This § 2255 proceeding is ripe for ruling.



II. Discussion

       A. Ramirez’s § 2255 motion is time-barred

       The United States argues that Ramirez’s § 2255 Motion to Vacate, Set Aside or Correct

Sentence should be dismissed because it is time barred. On April 24, 1996, the Antiterrorism and

Effective Death Penalty Act of 1996 (“AEDPA”) was enacted. With the enactment of AEDPA, 28

U.S.C. § 2255 specifically provides for a one-year statute of limitations:

       A 1-year period of limitation shall apply to a motion under this section. The
       limitation period shall run from the latest of–

       (1)       the date on which the judgment of conviction becomes final;

       (2)       the date on which the impediment to making a motion created by
                 governmental action in violation of the Constitution or laws of the
                 United States is removed, if the movant was prevented from filing by
                 such governmental action;

       (3)       the date on which the right asserted was initially recognized by the
                 Supreme Court, if that right has been newly recognized by the
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               Supreme Court and made retroactively applicable to cases on
               collateral review; or

       (4)     the date on which the facts supporting the claim or claims presented
               could have been discovered through the exercise of due diligence.

28 U.S.C. § 2255. Because Ramirez filed the instant motion after the effective date of AEDPA, the

provisions of the statute apply.

       Here, Ramirez’s conviction became final of purposes of § 2255(1) on April 5, 2001, when

the time for filing a petition for writ of certiorari expired. Griffith v. Kentucky, 479 U.S. 314, 321

n.6 (1987) (“By ‘final,’ we mean a case of which a judgment of conviction has been rendered, the

availability of appeal exhausted, and the time for a petition for certiorari elapsed or a petition for

certiorari finally denied.”). The one-year limitation period began to run on April 5, 2001, the day

his conviction became final, and expired one year later on April 5, 2002. Ramirez’s § 2255 motion

was filed on January 6, 2006, nearly three years and six months after the expiration of the one-year

period. Under these circumstances, Ramirez’s motion is untimely under § 2255(1), and is subject

to dismissal absent a showing that an alternate date for commencement of the limitations period

should be applied under § 2255(2)-(4) or that the limitations period should be equitably tolled.

         None of the alternate provisions for the commencement of the limitations period applies.

Ramirez has not alleged that he was in any way impeded from filing a timely § 2255 motion. Nor

has Ramirez alleged a claim that is based on a right that has been newly recognized by the Supreme

Court and made retroactively applicable to cases on collateral review. Finally, Ramirez has not

shown that the facts underlying his claims could not have been discovered through the exercise of

due diligence by the time his conviction was final.

        As for the applicability of equitable tolling, rare and exceptional circumstances may warrant

the application of equitable tolling principles to a late filed § 2255 motion to vacate, set aside or
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correct sentence. United States v. Patterson, 211 F.3d 927 (5th Cir. 2000). Equitable tolling,

however, is not available if the petitioner does not act diligently in attempting to meet the one year

limitations deadline. Coleman v. Johnson, 184 F.3d 398, 402 (5th Cir.1999), cert. denied, 529 U.S.

1057 (2000). In addition, the Fifth Circuit has approved of equitable tolling in very limited

circumstances, “‘principally where the plaintiff is actively misled by the defendant about the cause

of action or is prevented in some extraordinary way from asserting his rights.’” Fierro v. Cockrell,

294 F.3d 674, 682 (5th Cir. 2002) (quoting Coleman, 184 F.3d at 402); See also Davis v. Johnson,

158 F.3d 806, 811 (5th Cir. 1999), cert. denied, 526 U.S. 1074 (1999) (Inconsistent ruling by the

district court constituted exceptional circumstances which warranted the application of equitable

tolling principles); United States v. Patterson, 211 F.3d 927 (5th Cir. 2000) (Rare and exceptional

circumstances existed to warrant equitable tolling where the movant was under mistaken impression

as to filing deadline, where that mistaken impression was furthered by the District Court); United

States v. Wynn, 292 F.3d 226, 230 (5th Cir. 2002) (remanding case for rehearing on equitable tolling

where the petitioner alleged “he was deceived by his attorney into believing that a timely § 2255

motion had been filed on his behalf”). In contrast, the Fifth Circuit has disapproved of the

application of equitable tolling for circumstances which are “garden variety claims of excusable

neglect.” Lockingbill v. Cockrell, 293 F.3d 256, 265 (5th Cir. 2002).

       Here, Ramirez has provided no basis for equitably tolling the statutory period of limitations.

Given the absence of any facts in the record that would constitute a rare or exceptional circumstance,

equitable tolling of the limitations period is not available.

       B. Ramirez’s claims are without merit

       Even assuming that Ramirez’s § 2255 was not subject to dismissal as being time-barred, his

claims are without merit. Ramirez argues that the district court’s sentencing determination is
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contrary to the Supreme Court’s decisions in Blakely v. Washington, 542 U.S. 296, 524 S. Ct. 2531

(2004) and United States v. Booker, 543 U.S. 220 (2005) because the Court, and not a jury, enhanced

his sentence. In Blakely, the Supreme Court invalidated the State of Washington’s sentencing

scheme, whereby a judge could possibly sentence a defendant to a punishment beyond a statutory

range on the basis of judicially determined facts. Id. at 2538. In doing so, the Supreme Court

applied the rule in Apprendi v. New Jersey, 530 U.S. 466, 490, 120 S.Ct. 2348, 2363 (2000), which

requires that, “[o]ther than the fact of a prior conviction, any fact that increases the penalty for a

crime beyond the prescribed statutory maximum must be submitted to a jury, and proved beyond a

reasonable doubt.” The Supreme Court in Blakely expressly declined to state whether its decision

applied to the Federal Sentencing Guidelines. Id.

       The Supreme Court, in its intervening decision, United States v. Booker, extended its holding

in Blakely to the Federal Sentencing Guidelines, and concluded that there was “no distinction of

constitutional significance between the Federal Sentencing Guidelines” and the state sentencing

scheme at issue in Blakely and, in keeping with its earlier decision in Apprendi, stated: “Any fact

(other than a prior conviction) which is necessary to support a sentence exceeding the maximum

authorized by the facts established by a plea of guilty or a jury verdict must be admitted by the

defendant or proved to a jury beyond a reasonable doubt.” Id., 125 S.Ct. at 756. To remedy the

guidelines’ Sixth Amendment problem, the Supreme Court severed and excised 18 U.S.C.                §

3553(b)(1), which required mandatory application of the guidelines. Id. at 756-57, 765. As a

consequence, the guidelines are now advisory in all cases. Id. at 757. Because Blakely and Booker

were decided after Ramirez’s conviction in the instant case became final, it must be determined as

an initial matter whether Blakely/Booker should be retrospectively applied. The Supreme Court has

not stated whether the rule announced in Blakely and Booker applies retroactively to cases on
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collateral review.2 However, the Fifth Circuit addressed this issue as to initial § 2255 motions, and

has concluded that Booker does not apply retroactively to initial § 2255 motion. United States v.

Gentry, 432 F.3d 600 (5th Cir. 2005). Because Booker does not apply retroactively in initial § 2255

proceedings, Ramirez is not entitled to relief in this proceeding on his Blakely/Booker claims.



V. Conclusion and Recommendation

        Based on the foregoing, and the conclusion that Ramirez’s § 2255 motion was not timely

filed and that equitable tolling is not available, and that no relief is available to Ramirez on his

claims in any event, it is

        RECOMMENDED that the Government’s Motion to Dismiss (Document No. 5625) be

GRANTED, and that Movant Eli Ramirez’s § 2255 Motion to Vacate, Set Aside or Correct Sentence

(Document No. 5586) be DENIED, and that this § 2255 proceeding be DISMISSED as time-barred.

        The Clerk shall file this instrument and provide a copy to all counsel and unrepresented

parties of record. Within 10 days after being served with a copy, any party may file written

objections pursuant to 28 U.S.C. § 636(b)(1)(C), Fed.R.Civ.P. 72(b), and General Order 80-5, S.D.

Texas. Failure to file objections within such period shall bar an aggrieved party from attacking

factual findings on appeal. Thomas v. Arn, 474 U.S. 140 (1985); Ware v. King, 694 F.2d 89 (5th Cir.

1982), cert. denied, 461 U.S. 930 (1983); Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982) (en

banc). Moreover, absent plain error, failure to file objections within the ten day period bars an

aggrieved party from attacking conclusions of law on appeal. Douglass v. United Services




        2
        The United States Supreme Court has granted certiorari in Burton v. Waddington, 142 Fed.
Appx. 297 (9th Cir. 2005), cert. granted, 126 S.Ct. 2352 (June 5, 2006) and will address the issue
of Blakely retroactivity.
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Automobile Association, 79 F.3d 1415, 1429 (5th Cir. 1996). The original of any written objections

shall be filed with the United States District Clerk, P.O. Box 61010, Houston, Texas 77208.

       Signed at Houston, Texas, this 21st day of July, 2006.
